     Case 2:13-cr-00106-DOC Document 355 Filed 01/14/19 Page 1 of 4 Page ID #:3060




 1
     Joseph A. Yanny, Esq. (SBN 97979)
     Charles Cardinal, Esq. (SBN 322991)
 2   YANNY & SMITH
 3   1801 Century Park East, Suite 2400
     Los Angeles, California 90067
 4   Telephone: (310) 551-2966
 5   Facsimile: (310) 551-1949
     jyanny@yannylaw.com
 6
 7   Attorneys for Defendant,
 8
     Mongol Nation

 9
10                            UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA
11
12
                                                     )   Case No.: CR 13 00106 DOC
13
     United States of America                        )
14         Plaintiff,                                )   DEFENDANT’S SUPPLEMENT TO
15
                                                     )   DEFENDANT’S RULE 33 MOTION
     vs.                                             )   FOR NEW TRIAL AND RULE 29
16                                                   )   MOTION FOR JUDGMENT OF
17                                                   )   ACQUITTAL
     Mongol Nation,                                  )
18        Defendant.                                 )
19                                                   )   Courtroom: 9D
                                                     )   Judge: Honorable David O. Carter
20
21
22
23
24
25
26
27
28
29
30
31                                                        1
32                Supplement to Defendant’s Motion for New Trial and Motion for Judgment of Acquittal
33
34
     Case 2:13-cr-00106-DOC Document 355 Filed 01/14/19 Page 2 of 4 Page ID #:3061




 1
     I.    INTRODUCTION

 2         Defendant Mongol Nation has previously made motions during the guilt phase of
 3
     the trial and at the close of all evidence for a new trial, or in the alternative a mistrial, on
 4
 5   matters adversely decided to defendant and for a judgment of acquittal in the guilt phase.
 6
     See Dkt. 324; 340. This brief serves as a supplement to both of those already filed
 7
 8
     motions.

 9   II.   ARGUMENT
10
           First, much like the guilt phase of the trial, there was an overwhelming amount of
11
12   uncorroborated hearsay statements made during the testimony of the government’s
13
     witness during the forfeiture phase of the trial. Darrin Kozlowski specifically relied on
14
     and repeated out of court statements for the truth of the matter asserted without meeting
15
16   the foundational requirement for use as set forth in the jury instruction. This is a textbook
17
     example of hearsay. Fed. R. Evid. R. 803. Even if these statements of an undercover agent
18
19   are viewed as co-conspirator statements and therefore qualify as an exception to the
20   hearsay rule, “a conviction cannot be had upon the testimony of an accomplice unless it be
21
     corroborated by such evidence as shall tend to connect the defendant with the commission
22
23   of the offense.” Cal. Penal Code § 1111; See also Loboa v. Calderon, 224 F.3d 972 (9th
24
     Cir. 2000); Gonzalez v. State of Nevada, 131 Nev.Adv.Op. 99 (2015). Thus, there must be
25
26   some independent evidence that supports the hearsay statements in order for the jury to
27   rely on those statements for a finding of guilt. Additionally, a co-conspirator statement
28
29   must be made during the course of the conspiracy to qualify for the hearsay exception –
30
31                                                          2
32                  Supplement to Defendant’s Motion for New Trial and Motion for Judgment of Acquittal
33
34
     Case 2:13-cr-00106-DOC Document 355 Filed 01/14/19 Page 3 of 4 Page ID #:3062



     the alleged statements that certain alleged Mongols told special agent Kozlowski were
 1
 2   made after the alleged events at issue transpired. Just like the guilt phase of the trial,
 3
     special agent Kozlowski’s testimony during the forfeiture phase of the trial relied on
 4
     impermissible hearsay statements. Once again, the jury clearly did not understand the
 5
 6   instruction regarding uncorroborated hearsay statements. As such, defendant incorporates
 7
     the impermissible testimony proffered by the government during the forfeiture phase as
 8
 9   additional grounds for the previously filed motion for new trial, or in the alternative a
10   mistrial, on matters adversely decided to defendant and for the motion for a judgment of
11
     acquittal.
12
13         Second, there are a slew of Constitutional rights issues that became ripe after the
14
     forfeiture phase that serve as additional grounds for defendant’s Rule 33 and Rule 29
15
16   motions. These Constitutional concerns will be addressed in detail in a later briefing;
17   however, they include the First Amendment right to speech, expression, and association,
18
     the Fifth and Fourteenth Amendment rights to due process, and the Eighth Amendment
19
20   prohibition on excessive fines and cruel and unusual punishment. These complications are
21
     no longer hypothetical. As such, defendant supplements them as arguments into its
22
23   previous motions for a new trial, or in the alternative a mistrial, on matters adversely
24   decided to defendant and for a judgment of acquittal.
25
           Defendant incorporates the previous arguments made in its Rule 33 and Rule 29
26
27   motions herein and relies on those as well as any arguments that may be presented at the
28
29   hearing on these matters.
30
31                                                         3
32                 Supplement to Defendant’s Motion for New Trial and Motion for Judgment of Acquittal
33
34
     Case 2:13-cr-00106-DOC Document 355 Filed 01/14/19 Page 4 of 4 Page ID #:3063




 1
     III.   CONCLUSION

 2          For the foregoing reasons, defendant offers this supplement as additional grounds
 3
     for granting its previously filed Rule 33 and Rule 29 motions.
 4
 5
 6
 7
 8
                                                           Respectfully submitted,
 9
10
     Dated: Jan 14, 2019                           By:     /s/ Joseph A. Yanny
11
12                                                         JOSEPH A. YANNY
                                                           YANNY & SMITH
13
                                                           Attorneys for Defendant, Mongol Nation
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
29
30
31                                                         4
32                 Supplement to Defendant’s Motion for New Trial and Motion for Judgment of Acquittal
33
34
